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AO 450 (Rev. 5/85) Judgment in a Civil Case r


                         UNITED STATES DISTRICT COURT

                               *****            DISTRICT OF   NEVADA

RICHARD DEEDS,

                 Plaintiff,                       JUDGMENT IN A CIVIL CASE
        V.
                                                  CASE NUMBER: 3:14-CV-00138-RCJ-WGC
JAMES GREG COX, et al.,

                 Defendants.


        Jury Verdict. This action came before the Court for a trial by jury. The issues have been tried
        and the jury has rendered its verdict.

        Decision by Court. This action came to trial or hearing before the Court. The issues have been
        tried or heard and a decision has been rendered.

 X      Decision by Court. This action came to be considered before the Court. The issues have been
        considered and a decision has been rendered.

    IT IS ORDERED AND ADJUDGED that the Report and Recommendation (ECF No. 100) is
ADOPTED AND ACCEPTED, and Defendants’ Motion for Summary Judgment (ECF #84) is GRANTED.


          August 17, 2016                                     LANCE S. WILSON
                                                                  Clerk


                                                              /s/ D. R. Morgan
                                                                    Deputy Clerk
